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AO 458 (Rev. 06/09) Appearance of Counsel

UNITED STATES DISTRICT COURT

for the
Eastern District of Virginia

 

 

UNITED STATES OF AMERICA )
Plaintiff )
Vv. ) Case No. 1:21-CR-245-AJT
IGOR Y. DANCHENKO )
Defendant )
APPEARANCE OF COUNSEL
To: The clerk of court and all parties of record

I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

the defendant, Igor Y. Danchenko. _

Date: 12/03/2021.

 

Attorney ’s signature

  

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